                   Case 24-12480-LSS         Doc 1216      Filed 04/01/25      Page 1 of 1


                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )   Chapter 11
                                                                )
FRANCHISE GROUP, INC., et al.,                                  )   Case No. 24-12480 (LSS)
                                                                )
                                  Debtors.                      )   (Jointly Administered)
                                                                )

                       MOTION AND ORDER FOR ADMISSION PRO HAC VICE
        Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro hac
vice of Adam S. Paris of Sullivan & Cromwell LLP, 1888 Century Park East, Los Angeles, California 90067,
to represent B. Riley Principal Investments, LLC in the above-captioned chapter 11 cases.

 Dated: March 25, 2025                                 /s/ John H. Knight
                                                       John H. Knight (No. 3848)
                                                       RICHARDS, LAYTON & FINGER, P.A.
                                                       One Rodney Square
                                                       920 North King Street
                                                       Wilmington, Delaware 19801
                                                       Telephone: (302) 651-7700
                                                       Facsimile: (302) 651-7701
                                                       Email: knight@rlf.com
                   CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the States of California and New York, and submit
to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or
course of these cases. I also certify that I am generally familiar with this Court’s Local Rules and with the
Standing Order for District Court Fund revised December 21, 2023. I further certify that the fee of $50.00 has
been paid to the Clerk of Court for District Court.

 Dated: March 25, 2025                                 /s/ Adam S. Paris
                                                       Adam S. Paris
                                                       SULLIVAN & CROMWELL LLP
                                                       1888 Century Park East
                                                       Los Angeles, CA 90067
                                                       Telephone: (310) 712-6600
                                                       Facsimile: (310) 712-8800
                                                       Email: parisa@sullcrom.com

                                      ORDER GRANTING MOTION
         IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




         Dated: April 1st, 2025                           LAURIE SELBER SILVERSTEIN
         Wilmington, Delaware                             UNITED STATES BANKRUPTCY JUDGE

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